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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

IN THE MATTER OF:                                         CASE NO.: 17-17272-LMI
EDUARDO A. RAMIREZ                                        CHAPTER: 13

Debtor,
_____________________________/


 ORDER GRANTING ATTORNEY-REPRESENTED DEBTOR’S VERIFIED “OUT OF
 TIME” MOTION FOR REFERRAL TO MORTGAGE MODIFICATION MEDIATION

      The Debtor filed the Attorney-Represented Debtor’s Verified “Out of Time” Motion for

Referral to Mortgage Modification Mediation (“Out of Time Motion”) on October 4, 2017 for

Debtor’s real property located at 395 NW 177th Street Apt 139 Miami, FL 33169 (street address)

and served it on Ocwen Loan Servicing, LLC (“Lender”) in accordance with this Court’s

Mortgage Modification Mediation (“MMM”) Program Procedures (select one):

      _X _    The Debtor has filed a “Certificate of No Response and Request for Entry of
              Order”.
      ____    The Lender has filed a Lender’s Consent to participate in MMM.
      ____    The Debtor filed a “Certificate of Contested Matter” and the Court conducted a
              hearing on _____________.


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      It is ORDERED as follows:

       1.     The Motion is granted.

       2.     The Debtor and Lender are required to participate in Mortgage Modification

              Mediation (“MMM”) in good faith. MMM shall be concluded not later than 150

              days from the date of the Order, unless extended by written consent on the portal,

              by stipulation of the parties or by court order.

       3.     All communications and information exchanged during MMM are privileged and

              confidential as provided by Federal Rule of Evidence 408 and Chapter 44 of the

              Florida Statutes, and shall be inadmissible in any subsequent proceeding.

       4.     All written communication between the parties regarding the mediation must be

              sent through the approved Mortgage Modification Mediation Portal (“MMM

              Portal”) only, unless otherwise ordered by the Court. Any litigated matters

              incidental to the mediation shall be considered as separate matters and not subject

              to the portal communication requirement.

       5.     The Lender (and Lender’s counsel, if any) shall register with the MMM Portal,

              unless already registered, within seven days after entry of this Order, and

              designate its single point of contact and outside legal counsel, if any. If the

              Lender fails to register, the Debtor may file a motion with the Court seeking

              sanctions against the Lender for Lender’s failure to register.

       6.     Lender’s counsel or representative shall have the authority (within the investor’s

              guidelines) to settle and will attend and continuously participate in all MMM

              conferences in this case.




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       7.     Debtor’s attorney shall, within seven days after the Debtor’s Notice of Selection

              of Mortgage Modification Mediator (or Notice of Clerk’s Designation of

              Mortgage Modification Mediator) is filed, or after confirming that the Lender is

              registered on the MMM Portal, whichever occurs later, remit to the MMM Portal

              the required non-refundable MMM Portal submission fee in the amount $40.00,

              and upload to the MMM Portal the following (collectively, the “Completed

              Package”):

              (a)     Debtor’s loan modification package (prepared using the Document

                      Preparation Software);

              (b)     A copy of this Order; and

              (c)     Any additional lender-specific information identified by Lender on the

                      MMM Portal.

       8.     The Lender shall, within seven days after Debtor’s delivery of the “Completed

              Package”, acknowledge receipt of Debtor’s information and advise Debtor of any

              additional or missing information required for Lender to proceed with its review.

       9.     In the event the Lender requires additional or missing information to consider the

              Debtor’s requested mortgage modification options as specified in the Motion, the

              Lender shall so notify Debtor through the MMM Portal within seven days of

              Debtor’s submission (“Notice”).       The Debtor shall provide all additional

              documents through the MMM Portal within seven days of the Notice.

       10.    The Lender shall timely underwrite the loan modification request.




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       11.    If the Lender transfers the loan, the Lender must provide a copy of the Order to

              the new holder of the loan (“Successor Lender”), and the Successor Lender will

              be obligated to comply with all terms of this Order.

       12.    PROCESS FOR SELECTION OF MEDIATOR:

              (a)     The parties shall have 14 days from the date of this Order to select a

                      mediator. If the parties agree on the selection of a mediator, the Debtor

                      shall file the MMM Local Form “ Debtor’s Notice of Selection of

                      Mortgage Modification Mediator” (Check Box 1 and insert mediator name

                      and contact information), serve a copy of the notice on all required parties,

                      and file a Certificate of Service pursuant to Local Rule 2002-1(F).

              (b)     If the Lender fails to communicate with the Debtor within the 14 day

                      period established for the mediator selection process, the Debtor shall,

                      within seven days, independently select a mediator and file the MMM

                      Local Form “Debtor’s Notice of Selection of Mortgage Modification

                      Mediator” (Check Box 2 and insert mediator name and contact

                      information), serve a copy of the notice on all required parties, and file a

                      Certificate of Service pursuant to Local Rule 2002-1(F). In this instance, it

                      shall be deemed that the Lender has waived the right to challenge Debtor’s

                      selection of a mediator.

              (c)     If the parties attempt to reach agreement on the selection of a mediator,

                      but fail to do so, the Debtor shall file the MMM Local Form “Debtor’s

                      Notice of Selection of Mortgage Modification Mediator” (Check Box 3

                      indicate an impasse), serve a copy of the notice on all required parties, and



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                      file a Certificate of Service pursuant to Local Rule 2002-1(F). The clerk

                      shall then randomly select a mediator from the clerk’s Mediation Register

                      pursuant to Local Rule 9019-2(B)(3), without the necessity of a hearing.

                      The clerk shall serve notice of the mediator selection on the required

                      parties using the MMM Local Form “Notice of Clerk’s Designation of

                      Mortgage Modification Mediator”. Local Rule 9019-2(B) shall apply to

                      any challenge to the Clerk’s Designation of Mediator.

       13.    Debtor’s attorney shall assign the mediator as the mediator in this case on the

              MMM Portal within seven days after designation.

       14.    The mediator shall:

              (a)     be governed by the standards of professional conduct set forth in the

                      Florida rules for certified and court-appointed mediators and shall have

                      judicial immunity in the same manner and to the same extent as a judge;

              (b)     subject to paragraph 15 below, be compensated in the amount of $600.00

                      for preparation for MMM, execution of required documents, facilitation of

                      document and information exchange between the parties, and participation

                      in no more than two one-hour MMM conferences; and

              (c)     be compensated at the rate set by this Court’s Local Rule 9019-2(6) for

                      any MMM conferences that extend beyond the initial two one-hour

                      conferences.

       15.    The mediator’s fee shall be paid equally by the parties as follows:




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              (a)           The Debtor shall pay a non-refundable fee in the amount of $300.00

                            directly to the mediator within seven days designation of the

                            mediator; OR

                            The Court finds that the Debtor qualifies for a mediator pro bono.

                            The mediator shall notify the Court and the Debtor immediately by

                            motion if the mediator is not willing to serve pro bono and state in

                            the motion to be excused from pro bono mediation, the reasons why

                            the mediator seeks to be excused.

              (b)     The Lender shall pay a non-refundable fee in the amount of $300.00

                      directly to the mediator within seven days after designation of the

                      mediator.

              (c)     The mediator’s fee for MMM conferences that extend beyond two, one-

                      hour conferences, shall be paid equally by the parties (unless the Debtor is

                      receiving pro bono mediation, in which case the Lender shall pay its half)

                      and is due and payable at the beginning of each successive MMM

                      conference in accordance with the program procedures.

       16.    The mediator shall log in to the MMM Portal within seven days after designation

              and use the MMM Portal to facilitate any additional exchange of information or

              documentation between Debtor and Lender in an effort to perfect the documents

              needed for Lender to complete its analysis of Debtor’s mortgage modification

              options.

       17.    If the mediator either fails to timely register or log in to the MMM Portal to begin

              to facilitate the MMM process, any party to the mediation may file a motion



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              requesting that the mediator be removed from this case and, if applicable, be

              removed from the Clerk’s Mediation Register.

       18.    MEDIATION CONFERENCE:

              (a)     The mediator shall schedule the initial MMM conference no later than

                      seven days after determining that the Lender has received and reviewed all

                      requested information. In the event the mediator cannot determine that the

                      Lender has received all the requested information, the mediator shall

                      schedule the initial MMM conference within 90 days of this Order. The

                      initial MMM conference shall not exceed one hour. The mediator shall

                      report the scheduling of all MMM conferences on the MMM Portal.

              (b)     The Lender and Lender’s representative may participate in the MMM

                      conference by telephone.

              (c)     The Debtor and any co-obligors/co-borrowers or other third party may

                      participate in the MMM conference by telephone provided they are

                      physically present with Debtor’s attorney and present identification to

                      Debtor’s attorney counsel during all MMM conferences.

              (d)     Debtor shall provide a foreign language interpreter, if necessary, at the

                      Debtor’s own expense.

              (e)     All parties attending the MMM conference must be ready, willing and able

                      to sign a binding settlement agreement at the MMM conference and have

                      the ability to scan, send and receive documents by facsimile, email or

                      other electronic means at the time of the MMM conference.




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       19.    In the event the parties are unable to reach an agreement and require an additional

              MMM conference, the mediator shall schedule a final MMM conference no later

              than 30 days thereafter. The final MMM conference shall not exceed one hour.

       20.    In the event the parties reach a final resolution or, if no agreement has been

              reached, the mediator shall report the results of the MMM on the MMM Portal

              not later than seven days after the conclusion of the final MMM conference. The

              mediator shall also complete and file with the Court, either conventionally or via

              CM/ECF, the MMM Local Form “Final Report of Mortgage Modification

              Mediator”, within two business days following entry of the final report data on the

              MMM Portal.

       21.    If applicable, Debtor’s attorney shall file the MMM Local Form “Ex Parte Motion

              to Approve Mortgage Modification Mediation Agreement with Lender”, no later

              than 14 days following the filing of the Final Report and upload the MMM Local

              Form “Order Granting Motion to Approve Mortgage Modification Mediation

              Agreement with Lender” to the Court’s E-Orders program. The parties shall also

              seek any necessary Court approval and formalize any required legal documents in

              a timely fashion thereafter.

       22.    The automatic stay is modified to the extent necessary to facilitate MMM

              pursuant to this Order.

       23.    [For chapter 7 debtors] Notwithstanding that the Debtor may be eligible for entry

              of a discharge before the MMM process is completed, the Court shall delay

              issuance of the discharge until either an agreement is reached or the parties reach




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              impasse as reflected in the Local Form "Final Report of Mortgage Modification

              Mediator".

       24.    Any of the deadlines imposed by this Order may be extended by order of the

              Court.

       25.    If any parties or counsel fail to comply with the terms of this Order, the Court will

              consider a motion to vacate the Order and may also impose sanctions.

       26.    The Debtor’s attorney shall serve a copy of this Order on all parties to the

              mediation, immediately upon receipt. Service shall be by regular U.S. Mail,

              electronic service, or email, if the party’s email address is known.

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Copies furnished to:


                                    Credit Mailing Matrix
                                   Case No.: 17-17272-LMI

Office of US Trustee                 Nancy Neidich Trustee          Eduardo A. Ramirez
51 SW 1st Avenue, Ste 1204           PO Box 279806                  395 NW 177th Street
Miami, FL 33130                      Miramar, FL 33027              Apt 139
                                                                    Miami, FL 33169

Sent Via Regular Mail           Sent Via Regular Mail              Sent Via Regular Mail
Ocwen Loan Servicing, LLC       Ocwen Loan Servicing               Ocwen Loan Servicing
1661 Worthington Road           Ronal M. Faris                     c/o Corporation Service
Suite 100                       Chief Executive Officer            Company, Registered Agent
West Palm Beach, FL 33409       1661 Worthington Road              1201 Hays Street
                                Suite 100                          Tallahassee, FL 3230
                                West Palm Beach, FL 33407




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